             Case 3:13-cr-03572-DMS
      ~AO 245B (CASD) (Rev. 4/14)
                                                         Document 245
                                    Judgment in a Criminal Case
                                                                                     Filed 07/10/15           PageID.836            FILED
                                                                                                                                    Page 1 of 4

                Sheet 1



                                                                                                                           CLERK, U.S. DISTRICT COURT
                                               UNITED STATES DISTRICT COUR                                              SOUTHERN DISTRICT OF CALIFORNIA
                                                   SOUTHERN DISTRICT OF CALIFORNIA                                      BY                «-,,"e DEPUTY


                     UNITED STATES OF AMERICA                                        JUDGMENT IN A CRIMINAL CASE
                                         v.                                          (For Offenses Committed On or After November 1, 1987)

                      GABRIEL SUAREZ-LOPEZ (9)                                       Case Number: 13CR3572-DMS
                                                                                     Jan E Ronis RET
                                                                                     Defendant's Attorney
     REGISTRATION NO. 42174298

     D
     THE DEFENDANT:
     181 pleaded guilty to count(s) _2_0_f_t_h_e_In_d_i_ct_m_e_n_t_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

     D was found guilty on count(s)_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
           after a plea of not guilty.
           Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                             Count
     Title & Section                          Nature of Offense                                                                             Number(s)
21 USC 846, 841 (a)(1)                CONSPIRACY TO DISTRIBUTE METHAMPHETAMINE AND COCAINE                                                  2




        The defendant is sentenced as provided in pages 2 through                4          ofthis judgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.
  D   The defendant has been found not guilty on count(s)

 D Count(s)_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ is D
                                                             ---------------------------------------------
                                                                             are D dismissed on the motion of the United States.
 181 Assessment: $100.00

  181 Fine waived                                   D Forfeiture pursuant to order filed _ _ _ _ _ _ _ _ _ _ , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notify the court and United States Attorney of any material change in the defendant's economic circumstances.
                                                                               July 10,2015
                                                                              Date ofImposition :f~ ~              j)j
                                                                              HON. DANA M.J3AW
                                                                              UNITED STATES DISTRICT JUDGE



                                                                                                                                                13CR3572-DMS
       Case 3:13-cr-03572-DMS                       Document 245          Filed 07/10/15         PageID.837             Page 2 of 4
AD 245B (CASD) (Rev. 4/14)   Judgment in a Criminal Case
            Sheet 2 - Imprisonment

                                                                                                   Judgment -   Page _ _2::...-_ of   4
 DEFENDANT: GABRIEL SUAREZ-LOPEZ (9)
 CASE NUMBER: 13CR3572-DMS
                                                             IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
         FORTY-ONE (41) MONTHS.



     o Sentence imposed pursuant to Title 8 USC Section I326(b).
     181 The court makes the following recommendations to the Bureau of Prisons:
         Defendant be designated to a facility in the Western Region of the U.S.




     o The defendant is remanded to the custody of the United States Marshal.
     o The defendant shall surrender to the United States Marshal for this district:
           Oat                                      Oa.m.       Op.m.      on _ _ _ _ _ _ _ _ _ _ __

               as notified by the United States Marshal.

     181 The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          o before NOON on AUGUST 14,2015
          o as notified by the United States Marshal.
          o as notified by the Probation or Pretrial Services Office.
                                                                   RETURN

I have executed this judgment as follows:

        Defendant delivered on                                                        to

at                                                     with a certified copy of this judgment.


                                                                                                 UNITED STATES MARSHAL


                                                                        By _______~~~~~~~~~~--------
                                                                                            DEPUTY UNITED STATES MARSHAL




                                                                                                                              13CR3572-DMS
        Case 3:13-cr-03572-DMS                     Document 245              Filed 07/10/15            PageID.838            Page 3 of 4
AO 245B (CASD) (Rev.4/14) Judgment in a Criminal Case
           Sheet 3 - Supervised Release
                                                                                                               Judgment-Page        3     of        4
DEFENDANT: GABRIEL SUAREZ-LOPEZ (9)
CASE NUMBER: 13CR3572-DMS
                                                          SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
THREE (3) YEARS.

         The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during
the term of supervision, unless otherwise ordered by court.                                          --

D The above dmg testing condition is suspended, based on the court's detennination that the defendant poses a low risk of
       future substance abuse. (Check, if applicable.)
       The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
       The defendant shall cooperate in the collection ofa DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
       Backlog Elimination Act of2000, pursuant to 18 USC sections 3563(a)(7) and 3583(d).
       The defendant shall comply with me requirements ofthe Sex Offender'Registration and Notification Act (42 U.S.C. § 16901, et seq.) as directed
       by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides, works, is a student, or
       was convicted ofa qualifying offense. (Check if applicable.)
D      The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such fine
or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set
forth in this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court. The defendant shall also comply with
any special conditions imposed.

                                       STANDARD CONDITIONS OF SUPERVISION
  1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)    the defendant shall support his or her dependents and meet other family responsibilities;
  5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
        acceptable reasons;
  6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)    the defendant shall refrain fl:om excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
        controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
        a felony, unless granted permission to do so by the probation officer;
 10)    the defendant shall permita probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
        contraband observed in plain view of the probation officer;
 11)    the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)    the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
        permission of the court; and
 13)    as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
        record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
        defendant's compliance with such notification requirement.

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           Case 3:13-cr-03572-DMS                     Document 245       Filed 07/10/15         PageID.839            Page 4 of 4
       AD 245B (CASD) (Rev. 4114) Judgment in a Criminal Case
                  Sheet 4 - Special Conditions
                                                                                                      Judgment-Page   -i..- of _--,4,-_ _
       DEFENDANT: GABRIEL SUAREZ-LOPEZ (9)                                                       II
       CASE NUMBER: 13CR3572-DMS




                                            SPECIAL CONDITIONS OF SUPERVISION
D Submit person, property, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and
     in a reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to
     submit to a search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to
     searches pursuant to this condition.

~ If deported, excluded, or allowed to voluntarily return to country of origin, not reenter the United States illegally; supervision waived upon
    deportation, exclusion or voluntary departure.
D Not transport, harbor, or assist undocumented aliens.
D Not associate with undocumented aliens or alien smugglers.
D Not reenter the United States illegally.
D Not enter or reside in the Republic of Mexico without written permission of the Court or probation officer.
D Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
D Not possess any narcotic drug or controlled substance without a lawful medical prescription.
D Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous dlUgS in any form.
D Participate in a program of mental health treatment as directed by the probation officer, take all medications as prescribed by a
    psychiatrist/physician, and not discontinue any medication without permission. The Court authorizes the release ofthe presentence report
    and available psychological evaluations to the mental health provider, as approved by the probation officer. Allow for reciprocal release of
    information between the probation officer and the treatment provider. May be required to contribute to the costs of services rendered in an
    amount to be determined by the probation officer, based on the defendant's ability to pay.
D Take no medication containing a controlled substance without valid medical prescription, and provide proof of prescription to the probation
    officer, if directed.
D Provide complete disclosure of personal and business financial records to the probation officer as requested.
D Be prohibited from opening checking acconnts or incurring new credit charges or opening additional lines of credit without approval of the
    probation officer.
D Seek and maintain full time employment andlor schooling or a combination of both.
D Resolve all outstanding court matters within 60 days of release from custody.
D Complete          hours of community service in a program approved by the probation officer within
D Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of
D Pmticipate in a program of dlUg or alcohol abuse treatment, including urinalysis or sweat patch testing and connseling, as directed by the
    probation officer. Allow for reciprocal release of information between the probation officer and the treatment provider. May be required to
    contribute to the costs of services rendered in an amount to be determined by the probation officer, based on the defendant's ability to pay.




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